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AO 450 (GAS Rev 10/03) Judgment in a Civil Case

United States District Court
Southern District of Georgia

C AND E, INC, individually and on behalf
of all persons or entities similarly situated,

Plaintiff, JUDGMENT IN A CIVIL CASE
v. CASENUMBER: CV107-122
FRIEDMAN'S JEWLERS, INC. and
FRIEDMAN'S, INC.,
Defendant.

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

Decision by Court. This action came before the Court, The issues have been considered and a decision has been
rendered.

ITIS ORDERED AND ADJUDGED
that, in accordance with the Court's Order of January 4, 2008, GRANTING Plaintiff's motion to

remand, DENYING Plaintiff's request for an award of attorneys’ fees. All other pending motions
in the case are DENIED AS MOOT. This case stands REMANDED to the Superior Court of

Richmond County.

 

01/04/08 me > Scott L. Poff |

 

 

 

Date 7 “= Clerk
Ae OS eS Jarod f : yea
i (By} Deputy Clerk

GAS Rev LO/L/03 cn

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